     Case: 1:20-cv-07115 Document #: 101 Filed: 12/30/21 Page 1 of 4 PageID #:1083




                  IN THE UNITED STATES DISTRICT COURT
         FOR THE NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

 EDELSON PC,                                      Case No.: 20-cv-07115

                Plaintiff,
                                                  Hon. Matthew F. Kennelly
         v.

 THOMAS GIRARDI, et al.

                Defendants.


                   JOINT STATUS REPORT REGARDING DISCOVERY

        Pursuant to the Court’s November 3, 2021 order, the parties submit the following joint

status report regarding discovery. (Dkt. 98.) Plaintiff Edelson PC, Defendant Keith Griffin, and

Defendant David Lira have each served written discovery requests. The Parties anticipate

completing document production and beginning depositions in late January and February, 2022.

The fact discovery cut-off is March 28, 2022, which the Parties intend to meet.

I.      Plaintiff Edelson PC’s requests. The status of Edelson PC’s written discovery requests

        is detailed below.

        1.     Plaintiff’s First Set of Interrogatories, First Set of Requests for Admission, and

               First Set of Requests for Production to Defendant Keith Griffin were issued on

               October 18, 2021. Mr. Griffin provided written responses on November 29, 2021.

               Mr. Griffin has indicated he does not have documents to produce to non-

               objectionable requests. Edelson PC anticipates raising deficiencies in Mr.

               Griffin’s production.

        2.     Plaintiff’s First Set of Interrogatories, First Set of Requests for Admission, and

               First Set of Requests for Production to Defendant David Lira were issued on




                                                 1
      Case: 1:20-cv-07115 Document #: 101 Filed: 12/30/21 Page 2 of 4 PageID #:1084




                October 18, 2021. Mr. Lira provided written responses on November 22, 2021.

                Mr. Lira produced documents. Edelson PC anticipates raising deficiencies in Mr.

                Lira’s production.

         3.     Plaintiff has also issued subpoenas to:

                 a.    Nano Banc. Issued September 29, 2021, and responsive documents have

                       been received.

                 b.    Citizens Business Bank. Issued September 29, 2021, and responsive

                       documents have been received.

                 c.    Western Alliance Bank. Issued September 29, 2021, and responsive

                       documents have been received.

                 d.    NBCUniversal Media LLC. Issued October 5, 2021, and the Parties are

                       engaged in an effort to resolve potential disputes.

                 e.    EFT Media Productions d/b/a Evolution Media. Issued October 5, 2021,

                       and the Parties are engaged in an effort to resolve potential disputes.

         4.     Plaintiff anticipates that it will need to issue additional subpoenas, including to

                the Trustee of the Girardi Keese bankruptcy.

II.      Defendant Griffin’s requests. The status of Mr. Griffin’s requests is detailed below.

         1.     Defendant Griffin’s First Set of Requests for Production to Edelson PC were

                issued on November 11, 2021. Plaintiff Edelson PC provided written responses on

                December 20, 2021. Mr. Griffin raised deficiencies in Edelson PC’s production.

                The Parties met and conferred on December 28, 2021 on certain requests. Edelson

                PC anticipates beginning a rolling production of documents on January 5, 2022.




                                                  2
   Case: 1:20-cv-07115 Document #: 101 Filed: 12/30/21 Page 3 of 4 PageID #:1085




              After the production of documents, the parties will continue their meet and confer

              efforts.

       2.     Defendant Griffin’s Second Set of Requests for Production, First Set of

              Interrogatories, and First Set of Requests for Admission to Edelson PC were

              issued on November 24, 2021. Edelson PC responded on December 27, 2021 and

              produced documents responsive to the Second Set of Requests for Production.

III.   Defendant Lira’s requests. Defendant Lira issued his First Set of Requests for

       Production, First Set of Interrogatories, and First Set of Requests for Admission to

       Edelson PC on December 21, 2021.

IV.    Depositions. Keith Griffin and David Lira anticipate deposing some or all of the

       following individuals:

       (1)    Jay Edelson

       (2)    Ari Scharg

       (3)    Rafey Balabanian

       (4)    Multi Rizki

       (5)    Anice Kasim

       (6)    Septiana Damayani

       (7)    Dian Daniaty Binti Udin Zaenudin

       (8)    Ramadhan A.S. Bin Misyadi

       (9)    Floyd Wisner

       (10)   Alexandra Wisner

       (11)   Erika Girardi




                                                3
  Case: 1:20-cv-07115 Document #: 101 Filed: 12/30/21 Page 4 of 4 PageID #:1086




                                     Respectfully submitted,

                                     EDELSON PC

Dated: December 30, 2021             By: /s/J. Eli Wade-Scott
                                     One of Plaintiff’s Attorneys

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Dated: December 30, 2021             By: /s/Edith R. Matthai (with permission)
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                                     KEITH GRIFFIN

Dated: December 30, 2021             By: /s/Ryan Saba (with permission)
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                                        4
